      Case 1-17-01085-ess         Doc 379     Filed 09/08/22      Entered 09/08/22 09:03:24




                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF NEW YORK


 In re:                                               Chapter 7

 HILAL K. HOMAIDAN,                                   Case No. 08-48275 (ESS)
 f/k/a Helal K. Homaidan,

                  Debtor.


 In re:                                               Chapter 7

 REEHAM YOUSSEF aka Reeham                            Case No. 13-46495 (ESS)
 Navarro Youssef aka Reeham N. Youssef,

                  Debtor.


 HILAL K. HOMAIDAN on behalf of                       Adv. Pro. No. 17-1085
 himself and all others similarly situated

                  Plaintiff,

 v.

 SALLIE MAE, INC,
 NAVIENT SOLUTIONS, LLC,
 NAVIENT CREDIT FINANCE
 CORPORATION

                  Defendants.


                                  NOTICE OF COMPLIANCE

          On September 6, 2022, Navient ceased collection activities on 7,368 Tuition Answer loans.

The Tuition Answer loans subject to this collection cease meet two criteria: (1) at least one

borrower on each loan obtained a discharge in bankruptcy on or after January 1, 2005 (as reported

in PACER records), and (2) the amount disbursed on each loan exceeded cost-of-attendance




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figures reported to IPEDS. The collection activities that Navient has ceased include the transmittal

of monthly statements as well as any outgoing written or oral communications requesting payment.

       Navient has taken these steps in an effort to comply with the Temporary Restraining Order,

Dkt. No. 343, entered on July 11, 2022. Navient does not concede that any of the loans covered

by the collection cease described above were in fact discharged or dischargeable in bankruptcy.

Nor does Navient concede that the cost-of-attendance figures reported to IPEDS and utilized by

Navient as a criteria for its compliance with the TRO represent the actual cost-of-attendance for

any applicable borrower. Navient likewise does not concede that all of the activities it has ceased

constitute acts of collection. Navient submits this Notice of Compliance subject to all of the

arguments it has previously made in opposition to the entry of the Temporary Restraining Order

and subject to all of Navient’s appellate rights.

                                               Respectfully submitted,

                                               /s/ Shawn R. Fox______________________
                                               Shawn R. Fox
                                               McGuireWoods LLP
                                               1251 Avenue of the Americas, 20th Floor
                                               New York, New York 10020
                                               Telephone: 212.548.2100
                                               Email: sfox@mcguirewoods.com

                                               - and -

                                               Thomas M. Farrell (pro hac vice)
                                               McGuireWoods LLP
                                               845 Texas Avenue, Suite 2400
                                               Houston, Texas 77002
                                               Telephone: 713.571.9191
                                               Email: tfarrell@mcguirewoods.com

                                               - and -

                                               Dion W. Hayes (pro hac vice)
                                               K. Elizabeth Sieg (pro hac vice)
                                               McGuireWoods LLP
                                               800 East Canal Street

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                                            Richmond, Virginia 23219
                                            Telephone: 804.775.1000
                                            Email: dhayes@mcguirewoods.com
                                            Email: bsieg@mcguirewoods.com


                               CERTIFICATE OF SERVICE

       I certify that on the 8th day of September, 2022, I filed the foregoing document with the
Clerk of the Court using the CM/ECF system, which will send a notification of such filing to all
counsel of record.

                                            /s/ Shawn R. Fox______________________
                                            Shawn R. Fox




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